  Case 2:24-mj-00217-LRL Document 1 Filed 12/30/24 Page 1 of 2 PageID# 1



                             IN   THE   UNITED    STATES       DISTRICT   COURT
                                                                                              DEC 3 0 2024
                             FOR THE    EASTERN        DISTRICT      OF VIRGINIA

                                          NORFOLK        DIVISION                       CLERK U.S. DISTRICT COlTRT
                                                                                               NORFOLK. VA
UNITED     STATES      OF   AMERICA



                                                                         ^4 ate: February 5
         V .                                     Case    No.
                                                 Corrected       Court                             2025

ANWAR    T.    AFIFA


                                        CRIMINAL        INFORMATION


                                                 COUNT    ONE
                             (Misdemeanor)-Violation No.                E2102602

         THE    UNITED      STATES   ATTORNEY      CHARGES:


         That    on   or    about    October    16,     2024    at    Naval   Station   Norfolk,

                                                                                              ANWAR   T.
Virginia,       in the Eastern District of Virginia, the defendant,

AFIFA,     did willfully and knowingly steal and purloin property of the

United     States      of   a value     less   than     $1,000.00.

         (In violation of Title            18,     United States Code,           Section     641.)


                                                 COUNT    TWO
                                               (Misdemeanor)


         THE    UNITED      STATES    ATTORNEY     CHARGES:


         That    on   or    about    October     16,    2024,   at Naval      Station Norfolk,

Virginia        in the Eastern District of Virginia,                      the defendant,      ANWAR T.

AFIFA,     did unlawfully enter upon a naval installation for a purpose

prohibited by law or lawful regulation.

         (In violation of Title            18,     United States Code,           Section     1382.)
 Case 2:24-mj-00217-LRL Document 1 Filed 12/30/24 Page 2 of 2 PageID# 2



                                    Respectfully submitted,

                                    Jessica        D.   Aber
                                    United States               Attorney



                             By:
                                    Alan     M.    Sides
                                    Special Assistant U.S. Attorney
                                    Office        of    the U.S.     Attorney
                                    101 West Main Street,                  Suite 8000
                                    Norfolk, VA   23510
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                          CERTIFICATE       OF    MAILING


      I hereby certify that on the date indicated below, I caused a
true and correct copy of the foregoing Criminal Information to be
mailed.   postage prepaid, to the defendant in the above-styled case.

                                                           ■L

                             Alan M.    Sides
                             Special Assistant U.S. Attorney
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                                      20 Dec 2024
                             Date
